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   8 and CHRIS AVALOS
   9
                                      UNITED STATES DISTRICT COURT
  10
                 CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
  11
  12
     SHERLYN WILLIAMS, an individual;                Case No. 5:19-cv-01094-JFW-JDE
  13 LORING WINN WILLIAMS, an
     individual; and KYLE WILLIAMS, an               Assigned to: Judge John F. Walter
  14 individual,                                     Referred to:
                                                     Magistrate Judge John D. Early
  15                         Plaintiffs,
                                                     NOTICE OF MOTION & MOTION
  16             v.                                  OF DEFENDANTS TO DISMISS
                                                     FIRST AMENDED COMPLAINT
  17 CITY OF CHINO, a municipality sued              PURSUANT TO FED. R. CIV. P.
     in its official capacity, ABRAHAM               12(b)(1), 12(b)(6); MEMORANDUM
  18 DURAN, MATTHEW                                  OF POINTS AND AUTHORITIES
     BALLANTYNE, CHRIS AVALOS,                       IN SUPPORT THEREOF
  19 and DOES 1-20, inclusive,
                                                     Fed. R. Civ. P. 12(b)(1), 12(b)(6)
  20                         Defendants.
                                                     [Filed concurrently with Request for
  21                                                 Judicial Notice; Declaration of G. Ross
                                                     Trindle, III; and [Proposed] Order]
  22
                                                     Date: December 16, 2019
  23                                                 Time: 1:30 p.m.
                                                     Crtrm.: 7A
  24
                                                     Action Filed: June 13, 2019
  25                                                 FAC Filed: November 1, 2019
  26
  27
  28
       01225.0043/605414.2
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   1            TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
   2 RECORD:
   3            PLEASE TAKE NOTICE that on December 16, 2019 at 1:30 p.m., or as soon
   4 thereafter as the matter may be heard before the Honorable John F. Walter in
   5 Courtroom 7A of the United States District Court, Central District of California,
   6 located at 350 West 1st Street, Los Angeles, CA, 90012, Defendants CITY OF CHINO,
   7 ABRAHAM DURAN and CHRIS AVALOS (collectively “City”) will and hereby do
   8 move the Court, pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil
   9 Procedure (“FRCP”), for an Order staying and/or dismissing the First Amended
  10 Complaint for Damages (“FAC”) filed by Plaintiffs SHERLYN WILLIAMS, LORING
  11 WINN WILLIAMS and KYLE WILLIAMS (“Plaintiffs”).
  12            This motion is made following the attempted conference of counsel pursuant to
  13 Local Rule 7-3 which was initiated on November 8, 2019. On that date, counsel for
  14 the City contacted Plaintiffs’ counsel via email, providing a letter that set forth the
  15 basis for the City’s motion to dismiss and requesting to meet and confer on the matter.
  16 See Declaration of G. Ross Trindle, III, filed concurrently (“Trindle Decl.”), ¶¶ 6-7,
  17 Ex. A. As of the date of this Motion, Plaintiffs have not responded to the request to
  18 meet and confer. Trindle Decl., ¶ 8.
  19            The FAC is subject to a stay for lack of subject matter jurisdiction pursuant to
  20 FRCP Rule 12(b)(1) and the abstention doctrine articulated in Younger v. Harris, 401
  21 U.S. 37 (1967).
  22            Furthermore, the FAC fails to state claims upon which relief can be granted and
  23 should be dismissed for the following reasons:
  24            1.           Plaintiff’s Second and Third Causes of Action are subject dismissal as they
  25 comprise an impermissible Strategic Lawsuit Against Public Participation (“SLAPP”)
  26 under California law.
  27            2.           Plaintiffs’ FAC fails to state any viable claim for which relief can be
  28 granted.
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   1            3.           The City’s individual defendants are entitled to qualified immunity;
   2            4.           The FAC attempts to plead respondeat superior liability against the City
   3 for alleged constitutional violations, which is improper. Monell v. New York City Dep’t
   4 of Soc. Svcs., 436 U.S. 658, 690 (1978); and
   5            5.           The FAC requests punitive damages against the City of Chino, a public
   6 entity, contrary to California Government Code section 818.
   7
   8 DATED: November 15, 2019                       ALESHIRE & WYNDER, LLP
                                                    FRED GALANTE
   9
                                                    G. ROSS TRINDLE, III
  10                                                MATTHEW K. TOM
  11
  12
                                                    By:      /s/ G. Ross Trindle, III
  13
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  14                                                      Attorneys for Defendants, CITY OF
  15                                                      CHINO, ABRAHAM DURAN,
                                                          and CHRIS AVALOS
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   1                         MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.         INTRODUCTION
   3            While Plaintiffs’ First Amended Complaint (“FAC”) corrects a number of
   4 deficiencies present in their original filing, the FAC yet suffers from several fatal flaws
   5 that warrant a stay, or an outright dismissal.
   6            First, Plaintiffs seek to undermine an in-progress state court code enforcement
   7 proceeding, currently pending in the Superior Court of the State of California, County
   8 of San Bernardino. A determination by this Court of the issues raised in the FAC
   9 would necessarily impact and effectively decide the outcome of that state court
  10 proceeding. Accordingly, the Court should abstain from deciding any of the issues
  11 presented unless and until that state court enforcement proceeding is resolved.
  12       Second, two of Plaintiffs’ causes of action arising under California law comprise
  13 a SLAPP suit, and are subject to strike under California’s anti-SLAPP statute.
  14 Plaintiffs’ claims arise out of protected speech and conduct of the City, and Plaintiffs
  15 have little to no likelihood of prevailing on the merits of either claim.
  16        Third, Plaintiffs have failed to state any viable claim for relief under state or
  17 federal law as to any defendant. Every legal theory alluded to in the FAC lacks
  18 sufficient facts to state a viable claim, or is otherwise barred, as a matter of law.
  19        Fourth, all individual defendants are entitled to qualified immunity regarding
  20 procurement and execution of validly issued warrants.
  21       Fifth, Plaintiffs cannot allege vicarious liability against the City for alleged civil
  22 rights violations . Monell v. New York City Dep’t of Soc. Svcs., 436 U.S. 658, 690
  23 (1978).
  24            Sixth, Plaintiffs cannot recover punitive damages under state law against the City
  25 per Government Code section 818.
  26 II.   STATEMENT OF FACTS
  27            Plaintiffs Loring Winn Williams and Sherlyn Williams are the owners of the real
  28 property located at 4363 Whitney Court in the City of Chino (“Property”). FAC, ¶ 14.
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    1 On August 2, 2018, the City of Chino (“City”) conducted a full interior and exterior
    2 inspection of the Property pursuant to Inspection Warrant No. MISC 181181 issued by
    3 the Honorable Michael R. Libutti of the San Bernardino Superior Court. Id. at ¶ 26.
    4            On October 24, 2018, the City initiated a state court nuisance abatement action
    5 entitled City of Chino v. Loring Winn Williams, et al., San Bernardino County Superior
    6 Court case number CIVDS1827623. (Request for Judicial Notice (“RJN”), Ex. A.)
    7 The City’s state court nuisance abatement action remains pending with the parties
    8 engaged in discovery. (Declaration of G. Ross Trindle, III (“Trindle Decl.”), ¶ 3.)
    9 III.       STANDARD OF REVIEW
   10            Federal Rule of Civil Procedure 12(b)(1) provides for dismissal of an action for
   11 “lack of subject matter jurisdiction.” Fed. R. Civ. P. 12(b)(1). A motion to dismiss for
   12 lack of subject matter jurisdiction may either attack the allegations of the complaint (a
   13 “facial attack”), or it may be made as a “speaking motion” attacking the existence of
   14 subject matter jurisdiction in fact (“factual attack”). Thornhill Publishing Co v.
   15 General Tel. & Elecs. Corp., 594 F.2d 730, 733 (9th Cir. 1979). The major difference
   16 between a facial and factual attack is that under the former, the Court must consider the
   17 allegations of the complaint as true; under the latter, by contrast, the Court determines
   18 the facts for itself. See Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir.
   19 2004). For a factual attack, evidence outside the pleadings needed to resolve factual
   20 disputes as to jurisdiction may be considered. See Assoc. of Am. Med. Coll. v. United
   21 States, 217 F.3d 770, 778 (9th Cir. 2000). Plaintiffs have the burden of establishing
   22 jurisdiction. See Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 377 (1994).
   23            Rule 12(b)(6), in turn, provides for dismissal of an action for “failure to state a
   24 claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). For a Rule 12(b)(6)
   25 motion, the facts alleged in a complaint are to be taken as true and must “plausibly give
   26 rise to an entitlement to relief.” Ashcroft v. Iqbal, 556 U.S. 662 (2009). Mere legal
   27 conclusions “are not entitled to the assumption of truth.” Id. The complaint must
   28 contain more than “a formulaic recitation of the elements of a cause of action.” Bell
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    1 Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). It must plead “enough facts to state a
    2 claim to relief that is plausible on its face.” Id. at 570.
    3            Plaintiffs are unable to establish this Court’s jurisdiction over this case and have
    4 otherwise failed to advance a claim upon which relief can be granted. Therefore, City’s
    5 Motion to Dismiss should be granted and Plaintiffs’ claims dismissed.
    6 IV.        ARGUMENT
    7            A.           THE COURT SHOULD ABSTAIN FROM EXERCISING
    8                         JURISDICTION PURSUANT TO YOUNGER
    9            Federal courts have discretion to abstain from exercising jurisdiction over cases
   10 which may have the effect of enjoining or otherwise interfering with pending state court
   11 civil proceedings on constitutional grounds. See Younger v. Harris, 401 U.S. 37, 49-53
   12 (1967) (“Younger”). Younger abstention is grounded in a “longstanding public policy
   13 against federal court interference with state court proceedings . . .” Younger, 401 U.S.
   14 at 43. A federal court may abstain under Younger in three categories of cases: (1)
   15 parallel, pending state criminal proceedings, (2) state civil proceedings that are akin to
   16 criminal prosecutions, and (3) state civil proceedings that implicate a State’s interest in
   17 enforcing the orders and judgments of its courts. See ReadyLink Healthcare, Inc. v.
   18 State Comp. Ins. Fund, 754 F.3d 754, 759 (9th Cir. 2014) (“ReadyLink”); Herrera v.
   19 City of Palmdale, 918 F.3d 1037, 1044 (9th Cir. 2019) (“Herrera”). First identified in
   20 New Orleans Public Service, Inc. v. Council of New Orleans, 491 U.S. 350 (1989)
   21 (“NOPSI”), these three categories are known as the NOPSI categories. See Sprint
   22 Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 72–73 (2013).
   23            The Ninth Circuit recently decided that a state nuisance enforcement action
   24 brought by a city “is a civil enforcement proceeding within the scope of the
   25 Younger doctrine.” Herrera, 918 F.3d at 1045 (emphasis added). Thus, it falls into
   26 one of the NOPSI categories.
   27            However, to warrant Younger abstention, a state civil action must also satisfy a
   28 three-part inquiry articulated in Middlesex Cty. Ethics Comm. v. Garden State Bar
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    1 Ass’n, 457 U.S. 423, 432 (1982) (“Middlesex”): the state proceeding must be (1)
    2 “ongoing,” (2) “implicate important state interests,” and (3) provide “an adequate
    3 opportunity . . . to raise constitutional challenges.” See also ReadyLink, 754 F.3d at
    4 759. If the state proceeding falls into one of the NOPSI categories and meets the three
    5 Middlesex factors, a federal court may abstain under Younger so long as “the federal
    6 action would have the practical effect of enjoining the state proceedings.” ReadyLink,
    7 754 F.3d at 759.
    8                         1.   All Middlesex Factors are Satisfied
    9            The City’s state nuisance abatement action not only falls into one of the NOPSI
   10 categories as a state civil proceeding that is akin to criminal prosecution, but it also
   11 satisfies the three-part inquiry articulated in Middlesex, 457 U.S. at 432.
   12            First, as the City’s state nuisance abatement action is still pending, the first
   13 Middlesex factor is satisfied. Trindle Decl., ¶ 3.
   14            Second, the Herrera court restated settled law that nuisance abatement
   15 proceedings concern important state interests: “We have previously held that such
   16 nuisance actions implicate important state law interests and thus satisfy the second
   17 Middlesex factor.” Herrera, 918 F.3d at 1045; see also Potrero Hills Landfill, Inc. v.
   18 County of Solano, 657 F.3d 876, 884 (9th Cir. 2011), (finding abstention “necessary to
   19 protect the state’s unique interest in exercising its basic executive functions”).
   20            Third, the state case provides an “adequate opportunity . . . to raise constitutional
   21 challenges” that Plaintiffs raise in this federal proceeding. As the Herrera court noted,
   22 California Code of Civil Procedure section 428.10 provides the opportunity for any
   23 party “against whom a cause of action has been asserted in a complaint or cross-
   24 complaint” to “file a cross-complaint setting forth . . . any cause of action he has against
   25 any of the parties who filed the complaint . . .” Herrera, 918 F.3d at 1046, quoting Cal.
   26 Civ. Proc. Code § 428.10. Plaintiffs cannot carry their burden to demonstrate that state
   27 procedural law barred their opportunity to raise their constitutional claims in the state
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    1 court action. See Pennzoil Co. v. Texaco, Inc. 481 U.S. 1, 14 (1987); Moore v. Sims,
    2 442 U.S. 415, 432 (1979). Accordingly, the third Middlesex factor is satisfied.
    3                         2.   The Federal Action Would Effectively Enjoin the State Action
    4            This case falls into one of the NOPSI categories and satisfies all of the Middlesex
    5 factors. The Court can—and should—abstain if the relief sought in this federal action
    6 would “enjoin—or have the practical effect of enjoining—ongoing state proceedings.”
    7 ReadyLink, 754 F.3d at 758. Quite obviously Plaintiffs filed this case for that purpose.
    8            Plaintiffs allege violations of their federal and state civil rights and seek
    9 monetary compensation: “This case concerns the unlawful seizure and detention of the
   10 Williams family at their residence based on false and illegally obtained information.”
   11 FAC, ¶ 1. “This is an action for damages pursuant to 42 U.S.C. § 1983 based upon past
   12 violations of Plaintiffs’ rights under the First and Fourth Amendments to the United
   13 States Constitution.” FAC, ¶ 2. Plaintiffs allege these violations occurred as a result of
   14 the inspection warrants obtained by defendants, and at issue in the state complaint.
   15 FAC ¶¶ 1, 17, 18, 19; RJN Ex. A (“On August 2, 2018, the City conducted a full
   16 interior and exterior inspection of the Property pursuant to Inspection Warrant No.
   17 MISC 181181 . . .” [¶ 12]; “The August 2, 2018 inspection was the second of two
   18 inspections of the Property conducted by the City pursuant to inspection warrant; the
   19 first such inspection took place on August 9, 2017, pursuant to Warrant No. MISC
   20 171410 . . .” [¶ 21].) Plaintiffs allege that the posting of the red tag constituted a
   21 seizure, also at issue in the state complaint. FAC ¶ 1; RJN Ex. A (“Based on the
   22 August 8, 2017 inspection, on September 13, 2017, the City’s Building Official ‘red-
   23 tagged’ the Property . . . pursuant to the California Building Code.” [¶ 23].)
   24            These allegations attempt to attack the legitimacy of the code enforcement
   25 process generally, and the inspection warrants sought, specifically, both of which are
   26 integral to the ongoing state enforcement proceeding. If successful, the Court’s
   27 determination of the issues in this case could—and likely would—be used to attack the
   28 City’s allegations, factual discovery, and ability to pursue abatement of the conditions
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    1 described in the underlying warrants. Thus, it remains clear on the face of the FAC
    2 that, “[r]elief on such claims requires the district court to determine first whether
    3 violations of [Plaintiffs’] civil rights have occurred in the course of the state
    4 enforcement proceeding, which would create a federal court judgment with preclusive
    5 effect over the ongoing state action.” Herrera, 918 F.3d at 1048.
    6            Accordingly, all of the requirements for Younger abstention have been met and
    7 the Court should so abstain as to Plaintiffs’ federal civil rights claim.
    8                         3.   Younger Abstention Applies to any Claims Raised by Plaintiff
    9                              Kyle Williams
   10            Younger abstention also applies to any claims raised by Kyle Williams, even
   11 though he is not a party in the ongoing state proceeding. See Herrera, 918 F.3d at
   12 1046-47.
   13            While abstention “generally applies only where the federal plaintiffs are also
   14 defendants in the ongoing state proceeding,” both the United States Supreme Court and
   15 the Ninth Circuit have recognized that the circumstances of some cases with legally
   16 distinct parties are “so closely related that they should all be subject to the Younger
   17 considerations which govern any one of them.” Id. at 1046, quoting Doran v. Salem
   18 Inn, Inc., 422 U.S. 922, 928 (1975). “The Court explained that, because the claims of
   19 the federal plaintiffs would nonetheless interfere with the state case, the ‘same comity
   20 considerations appli[ied]’ to warrant abstention.” Id. at 1046-47, quoting Hicks v.
   21 Miranda, 422 U.S. 332, 348 (1975); see also Canatella v. California, 404 F.3d 1106,
   22 1116 (9th Cir. 2005). Kyle Williams—the son of Mr. and Mrs. Williams—has “a
   23 sufficiently close relationship” with, and “sufficiently intertwined interests” as his
   24 parents in the state court nuisance abatement action. Canatella v. California, 404 F.3d
   25 at 1116.
   26            Indeed, the FAC alleges that: “the Williams family” was unlawfully detained “at
   27 their residence based on false and illegally obtained information,” which was included
   28 in the inspection warrant applications; “In the warrant application, the City employees
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    1 retaliated against the plaintiffs for exercising a constitutional right.” FAC, ¶ 1; all
    2 Plaintiffs allege that they were detained “during the code enforcement inspection.”
    3 FAC, ¶¶ 5-7; “There was no basis for the City to claim that Plaintiffs [would lie in wait
    4 or react with hostility] . . .” FAC, ¶ 21. Numerous other, similar examples abound in
    5 the FAC. The allegations effectively mirror those in Herrera, where the Ninth Circuit
    6 affirmed application of Younger abstention. Herrera, 918 F.3d at 1047.
    7            Accordingly, all claims for monetary compensation by all Plaintiffs are subject to
    8 a stay pending resolution of the state court action. Id. at 1042.
    9            B.           PLAINTIFFS’ STATE LAW CLAIMS ARE SUBJECT TO STRIKE
   10                         PER CALIFORNIA’S ANTI-SLAPP LAW
   11            Substantively, both state law claims in the FAC are subject to strike under
   12 California Code of Civil Procedure section 425.16.
   13                         1.   California’s Anti-SLAPP Elements
   14            Section 425.16 can be asserted against supplemental state law claims joined to
   15 Plaintiffs’ federal law claims. Globetrotter Software, Inc. v. Elan Computer Group,
   16 Inc., 63 F.Supp.2d 1127, 1129-1130 (N.D. Cal. 1999), accord In re Bah, 321 B.R. 41,
   17 46 (B.A.P. 9th Cir. 2005); see also Global Telemedia Inter., Inc. v. Doe 1, 132
   18 F.Supp.2d 1261 (C.D. Cal. 2001) [anti-SLAPP motions granted as to state claims
   19 pendent to federal question claims]. An anti-SLAPP motion will lie against a claim
   20 arising under Civil Code section 52.1. See Schaffer v. City and Cty. of San Francisco,
   21 168 Cal.App.4th 992, 996 (2008).
   22            Section 425.16 authorizes the trial court to strike a cause of action against a
   23 person arising from that person's exercise of constitutional rights to free speech and
   24 petition for redress of grievances. Cal. Civ. Proc. Code § 425.16; Flatley v. Mauro, 39
   25 Cal.4th 299, 311–312 (2006). The Legislature enacted the statute to provide an
   26 expeditious procedure to screen out meritless claims and thus discourage lawsuits
   27 brought primarily to chill the valid exercise of these constitutional rights. Flatley v.
   28 Mauro, 39 Cal.4th at 312.
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    1            Under section 425.16, the moving party bears the initial burden of showing that
    2 the cause of action arose from his or her acts in furtherance of rights to petition and free
    3 speech. Cal. Civ. Proc. Code § 425.16(b)(1); Zamos v. Stroud, 32 Cal.4th 958, 965
    4 (2004).) The protection extends to communicative conduct such as the filing, funding,
    5 and prosecution of a civil action. Rusheen v. Cohen, 37 Cal.4th 1048, 1056 (2006). If
    6 the defendant makes this showing that the challenged cause of action arises from
    7 protected activity, the burden shifts to the plaintiff to establish that there is a probability
    8 of prevailing on the merits of his or her claim. Cal. Civ. Proc. Code § 425.16(b)(1);
    9 Zamos v. Stroud, 42 Cal.4th at 965. To satisfy this requirement, the plaintiff must
   10 demonstrate that the complaint is legally sufficient and the elements of each claim are
   11 supported by a sufficient prima facie showing of facts such that, if the evidence
   12 submitted in support of these facts is credited, the plaintiff would be entitled to a
   13 favorable judgment. Zamos v. Stroud, 42 Cal.4th at 965. The plaintiff may not rely on
   14 the complaint alone, but must produce admissible evidence to support the elements of
   15 his claim. Paulus v. Bob Lynch Ford, Inc., 139 Cal.App.4th 659, 673 (2006).
   16                         2.   Statements and Actions of City Employees in Carrying Out Code
   17                              Enforcement Responsibilities Constitute Protected Speech Under
   18                              California’s Anti-SLAPP Law
   19            The anti-SLAPP law applies to the speech of government employees in the
   20 context of nuisance abatement actions. City of Costa Mesa v. D’Alessio Investments,
   21 LLC, 214 Cal.App.4th 358, 371 (2013) (“Costa Mesa”); Vargas v. City of Salinas, 46
   22 Cal.4th 1, 17 (2009); Bradbury v. Superior Court, 49 Cal.App.4th 1108, 1115 (1996).
   23 In fact, there is “a long and uniform line of California Court of Appeal decisions
   24 explicitly hold[ing] that governmental entities are entitled to invoke the protections of
   25 section 425.16 when such entities are sued on the basis of statements or activities
   26 engaged in by the public entity or its public officials in their official capacity.” Vargas
   27 v. City of Salinas, 46 Cal.4th at 17.
   28 / / /
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    1                         3.   Plaintiffs’ State Law Claims Include Allegations Arising From
    2                              Protected Speech
    3            The FAC plainly reveals that Plaintiffs’ contentions arise from statements and
    4 conduct of public employees “made in connection with an issue under consideration or
    5 review by a legislative, executive, or judicial body.”              Cal. Civ. Proc. Code §
    6 425.16(e)(2); Costa Mesa, 214 Cal.App.4th at 373. The FAC still alleges liability for
    7 every claim arising from the statements and conduct of public employees. “Arising
    8 from” means “the defendant’s act underlying plaintiff’s cause of action must itself have
    9 been an act in furtherance of the right of petition or free speech.” Costa Mesa, 214
   10 Cal.App.4th at 374, quoting City of Cotati v. Cashman, 29 Cal.4th 69, 78 (2002).
   11 Plaintiffs attack the conduct and speech of City officials going about the process of
   12 attempting to enforce the City’s nuisance laws, including statements made in
   13 connection with and within validly issued abatement warrants. FAC, ¶¶ 17, 19-29. The
   14 FAC alleges that “employees of the City of Chino obtained an inspection warrant and
   15 executed a search,” and “[i]n that warrant application, the City employees retaliated
   16 against the plaintiffs.” FAC, ¶ 1. The FAC continues by describing the speech of City
   17 employees included in the warrant application, as well as the speech used in initially
   18 red tagging the residence as uninhabitable.              Id.   These and similar allegations
   19 throughout the FAC are incorporated into all of Plaintiffs’ claims for relief. FAC, ¶¶ 15
   20 – 21, 24, 30, 42, 47. The FAC continues to show, as was clear in Costa Mesa, “both an
   21 executive body (the City’s government) and a judicial body (the trial court) were
   22 considering and reviewing the issue of whether illegal activity was occurring at the
   23 Property and what should occur as a consequence.” Costa Mesa, 214 Cal.App.4th at
   24 373. “Both forms of review and consideration of the issue of illegal conduct” at the
   25 Williams’ residence qualify under Section 425.16(e)(2). Ibid.
   26                         4.   Plaintiffs Cannot Show a Likelihood of Prevailing on the Merits
   27            Defendants have satisfied their obligations under the anti-SLAPP analysis.
   28            At this point, the burden shifts to Plaintiffs to show a likelihood of prevailing on
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    1 the merits. Cal. Civ. Proc. Code § 425.16(b)(1). The FAC does not allege any legally
    2 cognizable basis for relief.
    3                         (a)    Any Challenge to Procurement of the Inspection Warrants
    4                                Does Not State a Cognizable Claim
    5            To the extent that Plaintiffs challenge the procurement of the inspection warrants,
    6 the FAC does not allege that the supporting affidavits were “so lacking in indicia of
    7 probable cause as to render official belief in its existence entirely unreasonable.”
    8 Malley v. Briggs, 475 U.S. 335, 345 (1986), United States v. Leon, 468 U.S. 897, 923
    9 (1984); see also Brown v. Illinois, 422 U.S. 590, 610–11 (1975) (POWELL, J.,
   10 concurring in part), Illinois v. Gates, 462 U.S. 213, 263–64 (1983) (WHITE, J.,
   11 concurring in the judgment). In the absence of such allegations, Plaintiffs are not likely
   12 to prevail on the merits.
   13                         (b)    Any Challenge Related to the Detention of Plaintiffs While
   14                                Executing the Inspection Warrants Does Not State a
   15                                Cognizable Claim
   16            There is no violation of the Fourth Amendment where Defendants sought and
   17 received a warrant, which is specifically required by the Fourth Amendment. Indeed,
   18 the FAC specifically states that Mr. Williams told Defendants that he would not
   19 consent to a voluntary inspection, and that a warrant would be required. Defendants did
   20 just that. During execution of the warrant, as a matter of law, officers are permitted to
   21 detain residents. Michigan v. Summers, 452 U.S. 692 (1981); Muehler v. Mena, 544
   22 U.S. 93, 98 (2005) (“An officer’s authority to detain incident to a search is categorical;
   23 it does not depend on the ‘quantum of proof justifying detention or the extent of the
   24 intrusion to be imposed by the seizure.’”); Bailey v. United States, 568 U.S. 186, 200
   25 (2013). In fact, the Ninth Circuit has upheld the detention of residents during execution
   26 of a warrant issued for health and safety reasons. Dawson v. City of Seattle, 435 F.3d
   27 1054, 1066 (9th Cir. 2006). Accordingly, any claim grounded in the detention during
   28 execution of the warrants must fail.
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    1                         (c)     For Plaintiffs’ State Law Claims, the FAC Does Not Allege
    2                                 Compliance with the California Government Claims Act
    3            For all applicable state law claims—both the Bane Act violation and false
    4 imprisonment—Plaintiffs do not demonstrate compliance with the Government Claims
    5 Act as to any Defendant.
    6            Compliance with the claim filing requirement is an essential element of a
    7 damages cause of action against a government entity. Consequently, a plaintiff must
    8 allege facts demonstrating or excusing claim filing compliance; otherwise, the
    9 complaint is subject to challenge. State of Calif. v. Super. Ct. (Bodde), 32 Cal.4th
   10 1234, 1239 (2004); see also Williams v. Horvath, 16 Cal.3d 834, 842 (1976) (filing of a
   11 claim for damages is “more than a procedural requirement, it is a condition precedent to
   12 plaintiff's maintaining an action against defendant, in short, an integral part of plaintiff's
   13 cause of action.”), quoting Illerbrun v. Conrad, 216 Cal.App.2d 521, 524 (1963)
   14 (internal quotation marks omitted); Cal. Gov. Code § 945.4.
   15            Plaintiffs do not allege, much less show, compliance with the Government
   16 Claims Act. Accordingly, such claims must be dismissed and cannot otherwise support
   17 any claim for relief.
   18                         (d)     Plaintiffs’ Do Not State a Claim for Relief for False
   19                                 Imprisonment
   20            False imprisonment is the unlawful violation of the personal liberty of another.
   21 Cal. Penal Code § 236. The definition of the offense is the same whether alleged as a
   22 crime or a tort. Dillon v. Haskell, 78 Cal.App.2d 814, 816 (1947). “It is the unlawful
   23 arrest or detention of a person without a warrant, or by an illegal warrant, or a warrant
   24 illegally executed.”          Donati v. Righetti, 9 Cal.App. 45, 48 (1908); Mackie v.
   25 Ambassador Hotel & Inv. Corp., 123 Cal.App. 215, 220 (1932).                     For a false
   26 imprisonment claim based upon an arrest with a warrant, “it is necessary to allege its
   27 unlawfulness by pleading the facts constituting the invalidity of the legal process.”
   28 Muller v. Reagh, 215 Cal.App.2d 831, 836–37 (1963) (citations omitted). Such
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    1 allegations must be more than mere conclusions of law. Ibid. Plaintiffs’ FAC contains
    2 no such allegations; they will not be able to prevail on this claim.
    3                             (e)   Any Challenge Under California Civil Code section 52 Fails
    4            Plaintiffs cannot recover under California Civil Code section 52 for
    5 discrimination on the basis of disability as the FAC does not properly allege a violation.
    6 Turner v. Ass’n of Am. Medical Coll., 167 Cal.App.4th 1401 (2008). Plaintiffs do not
    7 allege discriminatory action by Defendants because of Plaintiffs’ alleged disability.
    8 Plaintiffs’ FAC contains no such allegations; Plaintiffs will not be able to prevail on
    9 this claim.
   10                             (f)   Defendants Have Immunity For Any Challenge Under
   11                                   California Law Arising Out of the Code Enforcement
   12                                   Process
   13            The City and its public employees have absolute immunity under California Civil
   14 Code section 47(b). “A privileged publication . . . is one made . . . [¶](b) In any . . .
   15 (2) judicial proceeding, [or] (3) in any other official proceeding authorized by law, or
   16 (4) in the initiation or course of any other proceeding authorized by law.” Any
   17 allegation of liability premised upon statements made related to the application for,
   18 receipt of, and eventual execution of, the inspection warrants, have no likelihood of
   19 proceeding based upon this immunity.
   20            As shown, Plaintiffs are not likely to prevail on any of the stated claims.
   21 Accordingly, each of Plaintiffs’ state law claims is subject to an anti-SLAPP motion
   22 which, if successful, includes a mandatory attorney’s fees award for the prevailing
   23 party. Cal. Civ. Proc. Code § 425.16(c)(1).
   24            C.           INDIVIDUAL DEFENDANTS ARE ENTITLED TO QUALIFIED
   25                         IMMUNITY
   26            Qualified immunity shields government actors from civil liability under 42
   27 U.S.C. § 1983 if “‘their conduct does not violate clearly established statutory or
   28 constitutional rights of which a reasonable person would have known.’” Castro v. Cty.
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    1 of Los Angeles, 833 F.3d 1060, 1066 (9th Cir. 2016) (en banc), quoting Harlow v.
    2 Fitzgerald, 457 U.S. 800, 818 (1982). It “protects ‘all but the plainly incompetent or
    3 those who knowingly violate the law.’” Mueller v. Auker, 576 F.3d 979, 992 (9th Cir.
    4 2009), quoting Malley v. Briggs, 475 U.S. 335, 341 (1986), and protects an officer from
    5 suit when he or she “makes a decision that, even if constitutionally deficient,
    6 reasonably misapprehends the law governing the circumstances.” Brosseau v. Haugen,
    7 543 U.S. 194, 198 (2004).
    8            “When a defendant asserts qualified immunity . . . the burden shifts to the
    9 Plaintiff to show that: (1) the defendant violated a constitutional right and (2) the
   10 constitutional right was clearly established.” Pearson v. Callahan, 555 U.S. 223, 232–
   11 36 (2009). “[A] right is clearly established when the ‘contours of the right [are]
   12 sufficiently clear that a reasonable official would understand that what he is doing
   13 violates that right.’” Castro, 833 F.3d at 1067, quoting Serrano v. Francis, 345 F.3d
   14 1071, 1077 (9th Cir. 2003). “This inquiry must be undertaken in light of the specific
   15 context of the case, not as a broad general proposition.” Mueller, 576 F.3d at 994
   16 (internal quotation marks and citation omitted). “[T]he clearly established law must be
   17 ‘particularized’ to the facts of the case.” White v. Pauly, 137 S.Ct. 548, 552 (2017),
   18 citing Anderson v. Creighton, 483 U.S. 635, 640 (1987).
   19            Here, there are no cognizable constitutional violations. But, even if some
   20 violation exists, there is no clearly established law finding liability for public
   21 employees acting in accord with a judicially authorized abatement warrant. Under
   22 California Government Code section 821.8, public employees are not liable for injuries
   23 arising out of their entry upon any property where such entry is expressly authorized by
   24 law.
   25            D.           PLAINTIFFS HAVE NOT ALLEGED MONELL LIABILITY
   26            Further, the FAC attempts to plead respondeat superior liability against the City
   27 for alleged constitutional violations, which is improper. Monell v. New York City Dep’t
   28 of Soc. Svcs., 436 U.S. 658, 690 (1978) (“Monell”). Plaintiffs must allege, and then
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    1 prove, that some custom, practice, or policy of the City can be shown to be the moving
    2 force behind a violation of constructional rights. Monell, 436 U.S. at 694; see also
    3 Dougherty v. City of Covina, 654 F.3d 892, 900 (9th Cir. 2011). In order to establish
    4 liability for governmental entities under Monell, a plaintiff must prove “(1) that [the
    5 plaintiff] possessed a constitutional right of which [s]he was deprived; (2) that the
    6 municipality had a policy; (3) that this policy amounts to deliberate indifference to the
    7 plaintiff's constitutional right; and, (4) that the policy is the moving force behind the
    8 constitutional violation.” Dougherty, 654 F.3d at 900, quoting Plumeau v. Sch. Dist.
    9 No. 40 Cnty. of Yamhill, 130 F.3d 432, 438 (9th Cir.1997) (internal quotation marks
   10 and citation omitted; alterations in original). The FAC does not make any allegations to
   11 this effect. Accordingly, all federal civil rights allegations against the City must be
   12 dismissed.
   13            E.           DEFENDANT CITY OF CHINO CANNOT BE LIABLE FOR
   14                         PUNITIVE DAMAGES
   15            Under California Government Code section 818, a public entity is not liable for
   16 damages imposed primarily for the sake of example and by way of punishing the
   17 defendant. Accordingly, Plaintiffs’ requests for punitive damages against the City is
   18 improper and must be dismissed. FAC, ¶¶ 41, 46; Prayer for Relief, ¶¶ 2, 3.
   19 V.         CONCLUSION
   20            For the foregoing reasons, Plaintiffs’ First Cause of Action must be stayed for the
   21 duration of the City’s pending state civil proceeding. Alternatively, the Court can
   22 dismiss the action against individual City defendants via application of qualified
   23 immunity, and any federal civil rights liability against the City can be dismissed as
   24 inconsistent with the requirements of Monell.
   25            Plaintiffs’ state law causes of action alleged in the FAC should be dismissed and
   26 Defendants should be awarded attorney’s fees and costs, to be proven via a subsequent
   27 motion, via California’s anti-SLAPP law. Even if California’s anti-SLAPP law does
   28 not apply, the FAC still is subject to dismissal where Plaintiffs have failed to
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    1 adequately plead a basis for relief, or where Defendants have absolute immunity.
    2 Further, Plaintiffs’ request for punitive damages against the City under any surviving
    3 state law claim must be dismissed.
    4 DATED: November 15, 2019                ALESHIRE & WYNDER, LLP
                                              FRED GALANTE
    5
                                              G. ROSS TRINDLE, III
    6                                         MATTHEW K. TOM
    7
    8
                                              By:      /s/ G. Ross Trindle, III
    9
                                                    G. ROSS TRINDLE, III
   10                                               Attorneys for Defendant, CITY OF
   11                                               CHINO

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    1                                   PROOF OF SERVICE
    2 STATE OF CALIFORNIA, COUNTY OF RIVERSIDE
    3       At the time of service, I was over 18 years of age and not a party to this action. I
      am employed in the County of Riverside, State of California. My business address is
    4 3880 Lemon Street, Suite 520, Riverside, CA 92501.
    5       On November 15, 2019, I served true copies of the following document(s)
      described as NOTICE OF MOTION & MOTION OF DEFENDANTS TO
    6 DISMISS FIRST AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P.
      12(b)(1), 12(b)(6); MEMORANDUM OF POINTS AND AUTHORITIES IN
    7 SUPPORT THEREOF on the interested parties in this action as follows:
    8            Gregory Paul Peacock, Esq.                  Counsel for Plaintiffs
                 LAW OFFICES OF GREGORY                      Winn Williams, Sherlyn
    9            PEACOCK                                     Williams, and Kyle Williams
                 4425 Jamboree Road, Suite 130
   10            Newport Beach, CA 92660
                 Tel: (949) 292-7478
   11            Fax: (949) 863-9732
                 Email: gregorypeacockesq@gmail.com
   12
             BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
   13 document(s) with the Clerk of the Court by using the CM/ECF system. Participants in
      the case who are registered CM/ECF users will be served by the CM/ECF system.
   14 Participants in the case who are not registered CM/ECF users will be served by mail or
      by other means permitted by the court rules.
   15
             I declare under penalty of perjury under the laws of the United States of America
   16 that the foregoing is true and correct and that I am employed in the office of a member
      of the bar of this Court at whose direction the service was made.
   17
             Executed on November 15, 2019, at Riverside, California.
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                                                            /s/ Maria E. Muñoz
   20                                                Maria E. Muñoz
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                                                -24-                Case No. 5:19-cv-01094-JFW-JDE
             DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS FIRST AMENDED COMPLAINT
